 p\ Fillinthisinformationto identifyyourcase:
v>     Debtor 1                  Gabriel Rojas
                                 First Name                          Middle Name                        LastName
       Debtor 2
       (Spouse if, filing)       First Name                         Middle Name                         LastName

       United States Bankruptcy Court for the:                DISTRICT OF ARIZONA TUCSON DIVISION

       Case number
       (if known)
                                                                                                                                                           D Check if this is an
                                                                                                                                                             amended filing
                                                                    %^

      Official Form 106Sum                                                                                                                           2018NOU7 AM'iiYsT
      Summa                  of Your Assets and Liabilities and Certain Statistical Information                                                                       12/15
      Be as complete andaccurateas possible. Iftwo married people arefilingtogether, both areequally responsibleforsupplying correct
      information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
      your originalforms, you must fill out a new Summaryand checkthe boxat the top of this page.
                     Summarize Your Assets




       1     Schedule A/B: Property (Official Form 106A/B)
             1 a. Copy line 55, Total real estate, from Schedule A/B.                                                                                                         240, 000. 00

              1b. Copy line 62, Total personal property, from Schedule A/B.                                                                                                    12, 225. 00

              1c. Copy line 63, Total ofall property on ScheduleA/B.                                                                                                          252, 225. 00
      Part 2.        SummarizeYour Liabilities

                                                                                                                                                               Yourliabilities
                                                                                                                                                               Amount you

      2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
             2a. Copy the total you listed in Column A, Amount ofclaim, at the bottom ofthe last page ofPart 1 of Schedule D...                                $              251, 708. 00
      3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
             3a. Copy thetotal claimsfrom Part 1 (priority unsecuredclaims)from line6eof ScheduleE/F.................................                          $                     0-00
             3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                     $               44. 789. 00


                                                                                                                                    Your total liabilities $             296, 497. 00


      Part 3.       SummarizeYour Income and Ex enses

      4.     Schedule I: Your Income (Official Form 1061)
             Copyyourcombinedmonthlyincomefrom line 12 of Schedule/.,..............................................................................            $                     0.00
      5.     Schedule J: Your Expenses(Official Form 106J)
             Copy your monthly expenses from line 22c of Schedule J..........................................................................                  $                     0.00
      Part 4        AnswerThese Questions for Administrative and Statistical Records

      6.    Are you filing for bankruptcy underChapters 7, 11, or 13?
            L] No. You have nothing to report on this pan of the form. Check this box and submit this form to the court with your other schedules.

                    Yes
      7.    Whatkind of debtdo you have?

                    Yourdebtsare primarily consumerdebts. Consumerdebtsarethose"incurredby an individualprimarilyfora personal,family, or
                    household purpose. " 11 U. S. C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U. S.C. § 159.

             D      Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                    the court with your other schedules.
      Official Form 106Sum                 Summary ofYour Assets and Liabilities and Certain Statistical Information                                                page 1 of 2
     SoftwareCopyright(c)1996-2018 BestCase,LLC- www.bestcase.com                                                                                                   BestCaseBankruptcy
                      Case 4:18-bk-13662-SHG                              Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                                                 Desc
                                                                          Main Document    Page 1 of 39
   Debtor 1      Gabriel Ro'as                                                                 Case number (if known)

  8.     From the Statementof YourCurrent Monthly Income:Copyyour total current monthly incomefrom Official Form
         122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                       1, 542. 00


  9.     Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                           Total claim
         From Part 4 on Schedule E/F, copy the following:

         9a. Domesticsupport obligations (Copy line 6a.)                                                    $                    0. 00
         9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                    0.00
         9c. Claimsfor death or personal injurywhile you were intoxicated. (Copy line 6c.)                  $                    0.00

         9d. Student loans. (Copy line 6f.)                                                                 $                    0.00

         9e. Obligations arising out of a separation agreement or divorce that you did not report as
             priority claims. (Copy line 6g.)                                                               $                    0. 00

         9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)           +$                 0.00


        9g. Total. Add lines 9a through 9f.                                                                                0.00




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
Software Copyright (c) 1996-201 8 Best Case, LLC - www. bestcase. com                                                                    Best Case Bankruptcy
                Case 4:18-bk-13662-SHG                                  Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                    Desc
                                                                        Main Document    Page 2 of 39
   Debtor 1                    Gabriel Rojas
                               First Name                              Middle Name                     Last Name
  Debtor 2
  (Spouse, if filing)         First Name                               Middle Name                     Last Name

  United States Bankruptcy Court for the:                     DISTRICT OF ARIZONA TUCSON DIVISION

  Case number
                                                                                                                                                               D       Check ifthis is an
                                                                                                                                                                      amended filing


 Official Form 106A/B
 Schedule A/B: Pro ert                                                                                                                                               12/15
 !".eachcategory'separatelyllst anddescribeitems- Listanassetonlyonce. Ifanassetfits in morethanonecategory,lii
 ^-k^t.!'^s-t>T<s!-^e-a!-c.^plete.a-n?a?.cu?tea_sPossit".8-Iftwomarriedpeoplearefilingtogether,bothareequallyresponsibleforsupplying'rorr'sct"
 information.Ifmorespaceis needed,attacha separatesheetto thisform. Onthetop ofanyadditionalpages,writeyournameandcasenumber(ifknown)
 Answer every question.                                                                                            '   ....                                 --.. -.....--.,...... -....,.

          < Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1 Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
    D No. Go to Part2.
         Yes. Where is the property?




  1.1                                                                         Whatis the property? Checkall thaiapply
         1975 N. Maria Ave.                                                            Single-family home                        Do not deduct secured claims or exemptions. Put
         Slreet address, if available or olher descnplion
                                                                                                                                 the amount of any secured claims on Schedule D:
                                                                                 [-] Duplexormulti-unitbuilding
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative
                                                                                 D

                                                                                 C] Manufacturedor mobile home
                                                                                                                                 Current value of the           Current value of the
         Casa Grande                      AZ        85122-0000                   D Land                                         entire property?                portion you own?
         Cily                             State             ZIP Code             D Investment property                                 $240,000.00                        $240, 000.00
                                                                                 D Timeshare
                                                                                 D Other                                        Describe the nature of your ownership interest
                                                                                                                                (such as fee simple, tenancy by the entireties, or
                                                                              Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                            50% with wife fee simple
         Final                                                                  D Debtor 2 only
         Counly
                                                                                D Debtor 1 and Debtor 2 only
                                                                                1-1 At least one ofthe debtors and another           Check if this is community property
                                                                                                                                     (see instructions)
                                                                              Other information you wish to add about this item, such as local
                                                                              property identification number:
                                                                              In process of a divorce



 2. Addthedollarvalue ofthe portionyou ownforall ofyourentriesfrom Parti, includinganyentriesfor
        pages you have attached for Part 1. Write that number here.                                                                                                   $240,000.00
            Describe Your Vehicles



D°_youown'-lease'°.r havelegalorecluitableinterestinanyvehicles,whethertheyareregisteredornot?Includeanyvehiclesyouownthat
someone else drives. Ifyou lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                            page 1
Software Copyright (c) 1996-2018 Best Case, LLC-www. bestcase. com
                                                                                                                                                                        Best Case Bankruptcy
                  Case 4:18-bk-13662-SHG                                    Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                                                Desc
                                                                            Main Document    Page 3 of 39
    Debtor 1         Gabriel Rojas                                                                                        Case number (if known)

 3 Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

     D No
           Yes


    3. 1     Make:      Kia                                        Who has an interest in the property? Checkone                    Do not deduct secured claims or exemptions. Put
                                                                                                                                    the amount of any secured claims on Schedule D;
            Model:      Optima                                         Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
            Year:       2013                                       D Debtor2 only                                                   Current value of the       Current value of the
            Approximate mileage:                  70000            D Debtor1 andDebtor2 only                                       entire property?            portion you own?
            Other information:                                     D At least one of the debtors and another
            1975 N. Maria Dr., Casa Grande,
            AZ 85122                                                   Check if this is community property                                      $12,000.00              $12, 000.00
            Wife's car                                                 (see instructions)




4 Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

           No
     D Yes



 5 Add the dollarvalue of the portion you own for all ofyourentries from Part2, includingany entries for
      pages you have attached for Part 2. Write that number here........................,. ".................................................    =>                  $12,000.00

                Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                           Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.
6 Household goods and furnishings
  Examples: Major appliances, furniture, linens, china, kitchenware
    No
     D Yes. Describe.....

7    Electronics
      Examples:Televisionsand radios; audio, video, stereo, anddigitalequipment; computers, printers, scanners; musiccollections; electronicdevices
                     including cell phones, cameras, media players, games
           No
     D Yes. Describe.....

8. Collectibles of value
      Examples:Antiquesandfigurines; paintings,prints, or otherartwork; books, pictures, or otherart objects; stamp, coin, or baseballcard collections:
                     other collections, memorabilia, collectibles
           No
     D Yes. Describe.....

9. Equipment for sports and hobbies
     Examples:Sports,photographic,exercise,andotherhobbyequipment; bicycles, pooltables, golfclubs,skis; canoesandkayaks;carpentrytools;
                     musical instruments
           No
     D Yes. Describe.....

10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
     D Yes. Describe.....

11 Clothes
      Examples: Everyday clothes, furs, leather coats, designerwear, shoes, accessories
     a No
           Yes. Describe.....


Official Form 106A/B                                                        Schedule A/B: Property                                                                                 page 2
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                                                                                                                                                                          '3S@   HBnKrU]

                  Case 4:18-bk-13662-SHG                               Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                                                 Desc
                                                                       Main Document    Page 4 of 39
 Debtor 1       Gabriel Rojas                                                                                Casenumber(ifknown)

                                 Clothing                                                                                                              $200. 00


12 Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    D No
       Yes. Describe,,.,


                                 Watch                                                                                                                  $25. 00


13. Non-farm animals
      Examples: Dogs, cats, birds, horses
       No
    D Yes. Describe.....

14, Any other personal and household items you did not already list, including any health aids you did not list
       No
    D Yes. Give specificinformation.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ................................................ ".......'..................... '. " ' - --               $225. 00


 Part 4:   Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                          "Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                      claims or exemptions.
16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       No
   a Yes.. """."....

17 Deposits of money
     Examples:Checking,savings, or otherfinancialaccounts;certificatesofdeposit;sharesin credit unions, brokerage houses, and othersimilar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
   d Yes........................                                     Institution name:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
   D Yes..................         Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
       No
   D Yes. Give specific information about them...................
                                Name of entity:                                                               % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
   D Yes. Give specificinformation aboutthem
                                     Issuer name:


21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
   D Yes. Listeachaccountseparately.
OfficialForm106A/B                                                  ScheduleA/B:Property                                                                 page 3
SoftwareCopyright(c)1996-2018BeslCase,LLC-www.beslcase.com                                                                                     BgglOaseBankruptcy
             Case 4:18-bk-13662-SHG                         Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                                     Desc
                                                            Main Document    Page 5 of 39
   Debtor 1        Gabriel Rojas                                                                                   Case number (if known)

                                          Type of account:                    Institution name:

 22 Security deposits and prepayments
        Yourshareofall unuseddepositsyou havemadesothatyoumaycontinuesen/iceor usefrom a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
          No
      D Yes. .....................                                           Institution name or individual:

 23. Annuities (A contract for a periodic payment of money to you, either for life or for a number ofyears)
         No
      D Yes.............             Issuer name and description.

 24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U. S. C. §§530(b)(1), 529A(b), and 529(b)(-1)."' ~ -. -.. -..- .--°-"' - --- - ^""... -" --- -.. K. "a. °....
         No
     D Yes.............              Institutionnameanddescription.Separatelyfilethe recordsofany interests. 11 U. S.C. § 521(c):
 25. Trusts, equitable orfuture interests in property (otherthananything listed in line 1),and rights or powers exercisable foryour benefit
         No
     D Yes. Give specificinformationaboutthem...

 26. Patents copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and'licensing agreements
         No
     d Yes. Give specificinformation aboutthem...

27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
         No
     D Yes. Give specificinformationaboutthem...
  Money or property owed to you?                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured
                                                                                                                                                   claims or exemptions.
28. Tax refunds owed to you
      No
     D Yes. Give specific information aboutthem, including whether you already filed the returns and the taxyears.

29. Family support
       Examples: Pastdue or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
         No
    D Yes. Give specific information......


30, Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Securit
                     benefits; unpaid loans you made to someone else                              '   '             '    '        ^ , --.. --... -..,
        No
    D Yes. Give specificinformation..
31 Interests in insurance policies
      Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
        No
    D Yes. Namethe insurance company ofeach policy and list its value.
                                           Companyname:                                                   Beneficiary:                              Surrenderorrefund
                                                                                                                                                    value:

32. Any interest in property that is due you from someonewho hasdied
      !Ly^,lr! t^!. ^ficiary ofa l'vin9* ('expectproceedsfroma lifeinsurancepolicy,orarecurrentlyentitled toreceivepropertybecause
      somGono      nss QIGCI.

        No
    D Yes. Give specificinformation..

OfficialForm106A/B                                                       ScheduleA/B:Property                                                                           pggg 4
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                                                                                                                                                             Best Case Bankruptcy
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                                                                       Main Document    Page 6 of 39
   Debtor!          Gabriel Rojas                                                                                 Case number (if known)


  33 Claims against third parties, whether or not you havefiled a lawsuit or made a demand for payment
         Examples: Accidents, employment disputes, insurance claims, or rights to sue
          No
       D Yes. Describe each claim.........

  34. Othercontingentandunliquidatedclaimsofeverynature,includingcounterclaimsofthedebtorandrightstosetoffclaims
          No
       D Yes. Describe each claim.

  35. Any financial assets you did not already list
          No
       D Yes. Give specificinformation..

  36. Add_thedollarvalueofall ofyourentriesfrom Part4, includinganyentriesforpagesyou haveattached
         for Part 4. Write that number here.                                                                                                           $0. 00


              DescribeAny Business-RelatedPropertyYouOwnorHaveanInterestIn.Listanyrealestatein Part1.
 37. Doyou ownorhaveany legalorequitableinterestin anybusiness-relatedproperty?
         No. Go to Part 6.
      D Yes. Go to line 38.


              DescribeAny Farm-and Commercial Fishing-RelatedProperty You Ownor Havean Interest In.
              If you own or have an interest in farmland, list it in Part 1.


 46. Doyou ownor haveany legal orequitable interest inanyfarm-orcommercial fishing-related property?
           No. Go to Part 7.
        D Yes. Go to line 47.


                   DescribeAll Property You Own or Have an Interest in That You Did Not List Above

 53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership
         No
      D Yes. Give specificinformation.

 54. Add the dollar value of all ofyour entries from Part7. Writethat number here                                                                     $0. 00

                 List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2
                                                                                                                                                $240, 000.00
 56. Part 2: Total vehicles, line 5                                                             $12, 000.00
 57. Part 3: Total personal and household items, line 15                                           $225.00
 58. Part 4: Total financial assets, line 36                                                          $0. 00
 59. Part 5: Total business-retated property, line 45                                                 $0. 00
 60 Part 6: Total farm- and fishing-related property, line 52                                         $0. 00
 61     Part 7: Total other property not listed, line 54                                               $0. 00
 62. Total personal property. Add lines 56 through 61...                                        $12^225.00      Copypersonal property total        $12, 225. 00
 63. Total of all property on Schedule A/B. Add line 55 + line 62
                                                                                                                                              $252, 225. 00




Official Form 106A/B                                                           ScheduleA/B: Property                                                      page 5
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                                                                                                                                               Best Case Bankruptcy
                  Case 4:18-bk-13662-SHG                               Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                            Desc
                                                                       Main Document    Page 7 of 39
       in this information to identify your case:

  Debtor 1                 Gabriel Rojas
                           First Name                         Middle Name                   Last Name

  Debtor 2
 (Spouse if, filing)       First Name                         Middle Name


 United States Bankruptcy Court for the:                DISTRICT OF ARIZONA TUCSON DIVISION

 Case number
 (if Known)
                                                                                                                                         D Check if this is an
                                                                                                                                           amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/16

Be as complete and accurate as possible. Iftwo married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this pageas many copies ofPart2; AdditionalPageas necessary. On the top of any additionalpages,writeyour nameand
case number (if known).

Foreach item of property you claim as exempt, you mustspecifythe amountofthe exemptionyou claim. Oneway ofdoingso is to state a
specificdollaramountas exempt.Alternatively, you may claim the full fair market value ofthe property being exempted up'to the amount of
any applicablestatutory limit. Someexemptions-such as those for health aids, rights to receive certain benefits, and tax-exemptretirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100%of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

               jdentify the Property Yoy^Claim as Exem t
 1. Whichset of exemptions are you claiming? Checkone only, even ifyour spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U. S.C. § 522(b)(3)
      a You are claiming federal exemptions. 11 U. S. C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on              Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                      portion you own
                                                                 Copy the value from    Check only one box for each exemption.
                                                                 Schedule /VB

      1975 N. Maria Ave. Casa Grande, AZ                                                                           $1,989.00     Ariz- Rev' stat § 33-1101<A)
                                                                       $240, 000. 00
      85122 Final County
      In process of a divorce                                                                 100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                             any applicable statutory limit

      2013 Kia Optima 70000 miles                                       $12, 000. 00                                    $0.00    Ariz- Rev- stat § 33-1125(8)
      1975 N. Maria Dr., Casa Grande, AZ
      85122                                                                             D     100% of fair market value, up to
     Wife's car                                                                               any applicable statutory limit
     Line from Schedule A/B: 3.1

      Clothing                                                              $200. 00                                 $200. 00    Ariz- Rev- Stat. § 33-1125(1)
      Line from Schedule A/B: 11.1
                                                                                        D 100%offairmarketvalue,upto
                                                                                              any applicable statutory limit

     Watch
                                                                             $25. 00                                   $25. 00   Ariz' Rev- stat § 33-1125(6)
      Line from Schedule A/B: 12,1
                                                                                        D 100%offairmarketvalue, upto
                                                                                              any applicable statutory limit




OfficialForm 106C                                        ScheduleC: The PropertyYou Claimas Exempt                                                          page 1 of 2
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                                                                                                                                                      Best Case Bankruptcy
                 Case 4:18-bk-13662-SHG                               Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                                   Desc
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  Debtor i    Gabriel Rojas                                                                       Case number (if known)

  3. Are you claiming a homestead exemption of more than $160,375?
       (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
             No

       D Yes. Didyou acquire the property covered bythe exemption within 1, 215 days before you filed this case?
             D      No
             D      Yes




OfficialForm 106C                                    ScheduleC:ThePropertyYouClaimas Exempt                                        page 2 of 2
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                                                                                                                             Best Case Bankruptcy
               Case 4:18-bk-13662-SHG                             Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12               Desc
                                                                  Main Document    Page 9 of 39
   Fill in this informationto identifyyour case:
   Debtor 1                    Gabriel Rojas
                               First Name                       Middle Name                     Last Nams

   Debtor 2
   (Spouse if. filing)         First Name                       Middle Name


   United States Bankruptcy Court for the:                DISTRICTOFARIZONATUCSON DIVISION

   Case number
   (if known)
                                                                                                                                                        D Check if this is an
                                                                                                                                                          amended filing

  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                       12/15
 iBenaBSJ^mpLTv ah^!^te»aLplss^'e;if            two, ^aKrlelpM P^^^                                         equa"y resP°"sible    for   supplying   correct   information. If more space
 lisu"mbeedre(df ckoSe Additional page'fi" it out' number the entries; and a'ttach it tothis         form' 0" the topof   a'nyadditionaT'pag3es7w'ritve y'o'uur'n'a°m^"an'd'^scea
 1. Do any creditors have claims secured by your property?
         D No.Checkthisboxandsubmitthisformtothecourtwithyourotherschedules. Youhavenothingelsetoreportonthisform.
             Yes. Fill in all of the information below.
                  List All Secured Claims
                                                                                                                 Column A                  Column B
  ?_'-LI?t?ll, sec"^d claims- Ifa creditor hasmore than one secured claim, listthe creditor separately                                                                  Column C
  for each claim. Ifmore than onecreditor hasa particularclaim, listthe othercreditors. 'in Part'2.As'           Amount of claim           Value of collateral          Unsecured
  muchas possible, listtheclaims in alphabeticalorderaccordingto the creditor'sname.                             Do not deduct the         that supports this           portion
                                                                                                                 value of collateral.      claim                        If any
  2.1
           First American Credit
           Union                                     Describe the property that secures the claim:                   $13,697. 00                    $12,000.00              $1, 697. 00
          Creditor's Name
                                                     2013 Kia Optima 70000 miles
                                                     1975 N. Maria Dr., Casa Grande, AZ
                                                     85122
                                                     Wife's car
          958 E. Rodeo Rd. Ste 16                    As of the date you file, the claim is: Checkall that
                                                     apply.
          CasaGrande, AZ85122                        D Contingent
          Number, Slreet, City, State 8, Zip Code        Unliquidated
                                                     D Disputed
 Who owes the debt? Check one                        Nature of lien. Check all that apply.
  D Debtor 1 only
                                                         An agreementyou made (such as mortgageor secured
  D Debtor2 only                                          car loan)
  D Debtor1 andDebtor2 only                          D Statutorylien(suchastaxlien,mechanic'slien)
     Atleastoneofthedebtorsandanother ^ Judgmentlienfroma lawsuit
        Checkifthisclaimrelatestoa                   D Other(includinga righttooffset)
        community debt

 Date debt was incurred 3/201 6                               Last 4 digits of account number       XXXX


 22 Freedom Mortgage Corp                             Describe the property that secures the claim:               $238, 011. 00                $240,000.00                        $0. 00
          Creditor's Name
                                                    i 1975 N. Maria Ave. Casa Grande, AZ
                                                     85122 Final County
                                                     In process of a divorce
          10500 Kincaid Dr.                         As of the date you file, the claim is: Checkall that
                                                    apply.
          Fishers, IN 46037                          D Contingent
         Number, Street, City, State & Zip Code     D Unliquidated
                                                    D Disputed
 Who owes the debt? Check one                       Nature of lien. Checkall thatapply.
 D Debtor1 only                                         An agreementyou made(such as mortgageor secured
 D Debtor2 only                                          car loan)
 D Debtor 1 and Debtor2 only                            Statutorylien (such astax lien, mechanic'slien)
    At least one of the debtors and another         D Judgmentlienfroma lawsuit



Official Form 106D                                  Schedule D:Creditors WhoHave Claims Secured by Property                                                                 page 1 of 2
Software Copyrighl (c) 1996-2018 Best Case, LLC-www. bestcase. com
                                                                                                                                                                      Best Case Bankruptcy
                   Case 4:18-bk-13662-SHG                              Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                                                    Desc
                                                                      Main Document    Page 10 of 39
      Debtor 1 Gabriel Rojas                                                                          Case number (if known)
                 Firsl Name                 Middle Name                    Last Name



         Check if this claim relates to a            D Other (including a rightto offset)
         community debt

  Date debt was incurred        4/201 5                     Last 4 digits of account number   XXXX



       AddthedollarvalueofyourentriesinColumnA onthispage.Writethatnumberhere:                                        $251 708.00
       If this is the last page of your form, add the dollar value totals from all pages.                   r-        ^__7'_r_- _\ ;
       Write that number here: "                                    - - - -. ^-o-.                                    $251, 708. 00

  L2EES2 List Others to Be Notifiedfor a DebtThatYouAlready Listed
  u_sf_t-hl! l?!?, eo/1,ly-i-fyou l]ave cl.t^e. rs to be notified about your bankruptcy fora debtthat you already listed in Part 1 .Forexample, if a collection agency is
  .


  tryingto collectfromyoufora debtyou oweto someoneelse, listthecreditorin Part1, aridthen list'thecollection agencyhere.SimNarly,7f'vou hlve'm'ore
  thanone_creditorforanyofthedebtsthatyou listed in Part1, listtheadditionalcreditors here. Ifyou do not haveadditionalpersons'to be'notif
  debts in Parti, do not fill out or submit this page.




Official Form 106D
                                     AdditionalPageofScheduleD:CreditorsWhoHaveClaimsSecuredby Property                                                          page 2 of 2
Software Capyrighl(c) 1996-2018Best Case. LLC - vww.beslcase.com
                                                                                                                                                           Best Case Bankruptcy
                 Case 4:18-bk-13662-SHG                             Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                                           Desc
                                                                   Main Document    Page 11 of 39
  Fill in this information to identify your case:

  Debtor 1                   Gabriel Rojas
                             First Name                       MiddleName                          Last Name

  Debtor 2
  (Spouse If, filing)        First Name                      Middle Name                          Last Name


  United States Bankruptcy Court for the:              DISTRICTOFARIZONATUCSONDIVISION

  Case number
  (if known)                                                                                                                                           D Check if this is an
                                                                                                                                                         amended filing

 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result In a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
ScheduleG: Executory Contracts and Unexpired Leases(Official Form 106G). Do not Includeany creditorswith partially secured claimsthat are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1           List All of Your PRIORITY Unsecured Claims
 1.         any creditors have priority unsecured claims against you?
           No. Go to Part 2.
       D Yes.
 Part 2           List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

       D No.Youhavenothingtoreportinthispart. Submitthisformtothecourtwithyourotherschedules.
           Yes.

 4. List all of your nonpriority unsecuredclaims in the alphabeticalorderofthe creditorwho holds each claim. Ifa creditorhas more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than onecreditor holdsa particularclaim, list the othercreditors in Part3. 1fyou have morethan three nonpriority unsecured claimsfill outthe Continuation Pageof
       Part 2.
                                                                                                                                                               Total claim
 4.1           Capital One                                            Last 4 digits of account n u mber       XXXX                                                           $579.00
               Nonpriority Creditor's Name
               P.O. Box 30285                                         Whenwasthe debt incurred?               11/2010
               Salt Lake Ci , UT 84130
               NumberStreet City StateZip Code                        As ofthe date you file, the claim is: Checkall that apply
               Who incurred the debt? Check one.

                  Debtor 1 only                                       D Contingent
               D Debtor2 only                                              Unliquidated
               D Debtor 1 and Debtor 2 only                           D Disputed
               D At least one of the debtors and another              Type of NONPRIORITY unsecured claim:
               D Check ifthis claim is fora community                 D Student loans
               debt                                                   D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
               Is the claim subject to offset?                        report as priority claims
                  No                                                  D Debtstopensionorprofit-sharingplans,andothersimilardebts
               D Yes                                                       Other, specify Credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                    Page 1 of 7
Software Copyright (c) 1996-2018 Best Case, LLC-www. bestcase. com                                              36596                                                Best Case Bankruptcy
                  Case 4:18-bk-13662-SHG                          Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                                                      Desc
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  Debtor 1 Gabriel Ro'as                                                                                     Case number (if know)

  4.2        Capital One                                                  Last 4 digits of account number     XXXX                                        $2, 055. 00
             Nonpriority Creditor's Name
             P. O. Box 30285                                              Whenwas the debt incurred?          10/2011
             Salt Lake d , UT 84130
             Number Street City State Zip Code                            As ofthe date you file, the claim is: Checkall thatapply
            Who incurred the debt? Check one.

                  Debtor 1 only                                           D Contingent
             D Debtor 2 only                                                 Unliquidated
             D Debtor1 andDebtor2 only                                    D Disputed
            D At leastoneofthedebtorsandanother                          Type of NONPRIORITY unsecured claim;

            D Check if this claim Is fora community                       D Student loans
            debt                                                          D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subject to offset?                              report as priority claims
                No                                                        D Debtstopensionorprofit-sharingplans,andothersimilardebts
            D Yes                                                            Other. Specify Credit card

  4.3       Chase Card                                                   Last 4 digits of account number     xxxx                                           $789. 00
            Nonpriority Creditor's Name
            P.O. Box 15298                                               Whenwasthe debt incunred?           3/2017
            Wilmin ton, DE 19850
            Number Street City State Zip Code                            As ofthe date you file, the claim is: Checkall thatapply
            Who Incurred the debt? Check one.

                Debtor 1 only                                            D Contingent
            D Debtor2 only                                                   Unliquidated
            D Debtor 1 and Debtor 2 only                                 D Disputed
            D At leastoneofthedebtorsandanother                          Type of NONPRIORITYunsecured claim:
            D Checkifthisclaimisfora community                           D Studentloans
            debt                                                         D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subject to offset?                              report as priority claims
                No                                                       D Debtstopensionorprofit-sharingplans,andothersimilardebts
            D Yes                                                            Other. Specify Credit card

 4.4        First American Credit Union                                  Last 4 digits of account number     XXXX                                        $3,786.00
            Nonpriority Creditor's Name
            958E. RodeoRd. Ste 16                                        When wasthe debt Incurred?          7/2015
           Casa Grande, AZ 85122
            Number Street City State Zip Code                            As ofthe dateyou file, the claim is: Check all thatapply
           Who incurred the debt? Check one.

            D Debtor 1 only                                              D Contingent
            D Debtor2 only                                                   Unliquidated
            D Debtor1 andDebtor2 only                                    D Disputed
               At least one of the debtors and another                   Type of NONPRIORITT unsecured claim:
           D Check ifthis claim is fora community                        D Student loans
           debt                                                          D Obligations arisingoutofa separation agreement ordivorce thatyoudidnot
           Is the claim subject to offset?                               report as priority claims
               No                                                        D Debtstopensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                            Other. Specify Personal loan




Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 7
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  Debtor 1 Gabriel Ro'as                                                                                       Case number (if know)

  4.5       Jared-GaIleria/Genesis                                        Last4 digits of account number        xxxx                                     $10, 748. 00
             Nonpriority Creditor's Name
             15220 NWGreenbrier                                           Whenwasthe debt incurred?             5/2015
            Ste 200
            Beaverton, OR 97006
            Number Street City State Zip Code                             As of the date you file, the claim Is: Check all that apply
            Who incurred the debt? Check one.

                Debtor 1 only                                             D Contingent
            D Debtor 2 only                                                  Unliquidated
            D Debtor 1 and Debtor 2 only                                  D Disputed
            D At leastoneofthedebtorsandanother                          Type of NONPRIORITV unsecured claim:
            D CheckIfthisclaimIsfora community                            D Student loans
            debt                                                          D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subject to offset?                              report as priority claims
                No                                                       a Debtsto pensionorprofit-sharingplans,andothersimilardebts
            D Yes                                                            Other.Specify Creditcard

 4.6        Lendin Club Cor .                                            Last4 digits ofaccountnumber xxxx                                                $1,044.00
            Nonpriority Creditor's Name
            71 Stevenson St. Ste 300                                     Whenwasthe debt incurred?              3/2017
            San Francisco, CA 94105
            Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                Debtor 1 only                                            a Contingent
            D Debtor 2 only                                                  Unliquidated
            D Debtor1 andDebtor2 only                                    D Disputed
            D At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

            D Check Ifthis claim Isfor a community                       a Student loans
           debt                                                          D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Isthe claim subjectto offset?                                 report as priority claims
               No                                                        D Debtstopensionorprofit-sharingplans,andothersimilardebts
            a Yes                                                            Other. Specify Loan

 4.7       Mac 's                                                        Last4 digitsofaccountnumber xxxx                                                 $3,240.00
           Nonpriority Creditor's Name
           P.O. Box 8218                                                 Whenwasthe debt Incurred?             7/2013
           Mason, OH 45040
           Number Street City State Zip Code                             As of the dateyou file, the claim is: Checkall thatapply
           Who incurred the debt? Check one.

               Debtor 1 only                                             D Contingent
           D Debtor2 only                                                    Unliquidated
           D Debtor1 andDebtor2 only                                     D Disputed
           D At least one ofthe debtors and another                      Type of NONPRIORITy unsecured claim:
           D Checkifthisclaimisfora community                            D Studentloans
           debt                                                          D Obligations arisingoutofa separation agreement ordivorce thatyoudid not
           Is the claim subject to offset?                               report as priority claims
               No                                                        D Debtstopensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                            Other.Specify Credit card




Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page3 of 7
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     Debtor 1 Gabriel Ro'as                                                                           Case number (ifknow)

  4.8      Midland Fundin LLC                                    Last4 digits of account number        xxxx                                       $1, 524. 00
           Nonpriority Creditor's Name
           2365 Northside Drive #300                             Whenwasthe debt incurred?             10/2017
           San Die o, CA92108
           NumberStreet CityStateZip Code                        As of the date you file, the claim Is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                     D Contingent
           D Debtor 2 only                                          Unliquidated
           D Debtor 1 and Debtor 2 only                          D Disputed
           D Atleastoneofthedebtorsandanother                   Type of NONPRIORITY unsecured claim:

           D Check if this claim is fora community               D Student loans
           debt                                                  D Obligations arising outofa separation agreement ordivorce thatyoudidnot
           Is the claim subject to offset?                      report as priority claims
              No                                                 a Debtstopensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                    Other.Specify Collection

 4.9       Portfolio Recove          & Affil                    Last 4 digits of account number        XXXX                                       $2, 902. 00
           Nonpriority Creditor's Name
           120 Corporate Blvd.                                  Whenwasthe debt incurred?              10/2017
           Ste.1
           Norfolk VA 23502
           Number Street City State Zip Code                    As of the dateyou file, the claim is: Check all thatapply
           Who incurred the debt? Check one.

              Debtor 1 only                                     D Contingent
           D Debtor2 only                                           Unliquidated
           D Debtor 1 and Debtor 2 only                         d Disputed
           D At least one of the debtors and another            Type of NONPRIORITYunsecured claim:
           D Check if this claim is fora community              D Student loans
           debt                                                 D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                      report as priority claims

              No                                                D Debtstopensionorprofit-sharingplans,andothersimilardebts
           a Yes                                                    Other. Specify Collection

 4.1
 0         Portfolio Recovery & Affil                           Last4 digits of accountnumber         xxxx                                       $5, 050. 00
           Nonpriority Creditor's Name
          120 Corporate Blvd.                                   Whenwasthe debt incurred?             10/2017
          Ste.1
           Norfolk, VA 23502
          NumberStreet CityStateZip Code                        As of the date you Hie, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                     D Contingent
          D Debtor 2 only                                           Unliquidated
          D Debtor1 andDebtor2 only                             D Disputed
          D At leastoneofthedebtorsandanother                   Type of NONPRIORITY unsecured claim:

          D Check ifthis claim Isfor a community                D Studentloans
          debt                                                  D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
          Is the claim subjectto offset?                        report as priority claims
              No                                                D Debtstopensionorprofit-sharingplans,andothersimilardebts
          D Yes                                                    Other. Specify Collection




Official Form 106 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 4 of 7
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     Debtor 1 Gabriel Ro'as                                                                                 Case number (ifknow)

  4.1
     1      SYNCB/LowesPC                                               Last4 digits of account number        XXXX                                         $5, 049. 00
            Nonpriority Creditor's Name
            P.O. Box 965005                                             Whenwasthe debt incurred?             11/2013
            Orlando FL 32896
            Number Street City State Zip Code                           As of the dateyou file, the claim is: Checkall thatapply
            Who incurred the debt? Check one.

                  Debtor 1 only                                         D Contingent
            D Debtor 2 only                                                Unliquidated
            D Debtor 1 and Debtor2 only                                 a Disputed
            D Atleastoneofthedebtorsandanother                         Type of NONPRIORITYunsecured claim:
            D CheckIfthisclaimIsfora community                          D Student loans
            debt                                                        D Obligations arisingoutofa separation agreement ordivorce thatyou did not
            Is the claim subject to offset?                            report as priority claims
                NO                                                     D Debtstopensionorprofit-sharingplans,andothersimilardebts
            D Yes                                                          Other.Specify Creditcard

  4.1
  2         SYNCB/Nautilus                                             Last4 digits of accountnumber         XXXX                                          $1, 523. 00
            Nonpriority Creditor's Name
            C/0 P.O. Box 965036                                        Whenwasthe debt incurred?             4/2016
            Orlando, FL 32896
            NumberStreetCity StateZip Code                             As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                           D Contingent
            D Debtor 2 only                                                Unliquidated
            D Debtor 1 and Debtor 2 only                               D Disputed
            D Atleastoneofthedebtorsandanother                         Type of NONPRIORIT/ unsecured claim:

           D CheckIfthisclaimIsfora community                          D Studentloans
           debt                                                        D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                             report as priority claims
               No                                                      D Debtstopensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                           Other, specify Credit card

 4.1
 3         Synchrony Financial / JC Penny                              Last4 digits of account number        xxxx                                            $416.00
           Nonpriority Creditor's Name
           P.O. Box 965007                                             Whenwas the debt Incurred?            1/2013
           Orlando, FL 32896-0090
           Number Street City State Zip Code                           As of the dateyou file, the claim is: Checkall thatapply
           Who Incurred the debt? Check one.

               Debtor 1 only                                           D Contingent
           D Debtor 2 only                                                 Unliquidated
           D Debtor 1 and Debtor 2 only                                D Disputed
           D At leastoneofthedebtorsandanother                         Type of NONPRIORITY unsecured claim:

           D Checkifthisclaimis fora community                         D Student loans
           debt                                                        D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                             report as priority claims
               No                                                      D Debtsto pensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                          Other.Specify Credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page5 of 7
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               Case 4:18-bk-13662-SHG                                 Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                                  Desc
                                                                     Main Document    Page 16 of 39
     Debtor 1 Gabriel Ro'as                                                                                     Case number (ifknow)

  4.1
  4          Synchrony Financial / Wal Mart                                Last4 digits of account number        XXXX                                      $2, 902. 00
             Nonpriority Creditor's Name
             P.O. Box 965024                                               Whenwasthe debt Incurred?             12/2013
             Orlando, FL 32896
             NumberStreet City StateZip Code                              As of the dateyou file, the claim is: Checkall thatapply
             Who incurred the debt? Check one.

                 Debtor 1 only                                             D Contingent
             D Debtor 2 only                                                  Unliquidated
             D Debtor1 andDebtor2 only                                     D Disputed
             D Atleastoneofthedebtorsandanother                           Type of NONPRIORITY unsecured claim:

             D CheckIfthisclaimIsfora community                            D Student loans
            debt                                                          D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subjectto offset?                                report as priority claims
                No                                                        a Debtstopensionorprofit-sharingplans,andothersimilardebts
            D Yes                                                             Other.Specify Creditcard

  4.1
  5         The Home Depot/Citibank                                       Last4 digits of account number        XXXX                                        $247. 00
            Nonpriority Creditor's Name
            P.O. Box 6497                                                 When was the debt Incurred?           11/2018
            Sioux Falls, SD 57117
            Number Street City Sia:eZip Code                              As of the date you file, the claim Is: Check all that apply
            Who Incurredthe debt? Checkone.
                Debtor 1 only                                             D Contingent
            D Debtor 2 only                                                   Unliquidated
            D Debtor 1 and Debtor 2 only                                  D Disputed
            D Atleastoneofthedebtorsandanother                            Type of NONPRIORITV unsecured claim:

            a Check if this claim is for a community                      D Student loans
            debt                                                          D Obligations arisingoutofa separation agreement ordivorce thatyoudidnot
            Is the claim subject to offset?                               report as priority claims
                No                                                        D Debtstopensionorprofit-sharingplans,andothersimilardebts
            D Yes                                                             Other, specify Credit card

 4.1
 6          WF CRD SVC                                                    Last4 digits of account number        XXXX                                      $1, 395. 00
            Nonpriority Creditor's Name
            P.O. Box 14517                                                Whenwasthe debt Incurred?             5/2013
            Des Moines, IA 50306
            NumberStreet City StateZip Code                               As ofthe date you file, the claim is: Check all thatapply
           Who incurred the debt? Check one.

                Debtor 1 only                                             D Contingent
            D Debtor 2 only                                                  Unliquidated
            D Debtor1 andDebtor2 only                                     D Disputed
            D At least one ofthe debtors and another                      Type of NONPRIORITY unsecured claim:

            D Check if this claim is for a community                      D Student loans
           debt                                                           D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                                report as priority claims
               No                                                         D Debtstopensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                             Other. Specify Credit card




Official Form 106 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 6 of 7
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  Debtor 1 Gabriel Ro'as                                                                                        Case number (ifknow)

  4.1
  7          WF/Dillard                                                  Last4 digits of account number          XXXX                                                      $1, 540. 00
              Nonpriority Creditor's Name
              P.O. Box 14517                                             Whenwasthe debt incurred?               5/2016
              DesMoines IA 50306
             Number Street City State Zip Code                           As ofthe dateyou file, the claim is: Checkall thatapply
             Who incurred the debt? Check one.

                   Debtor 1 only                                         D Contingent
             D Debtor 2 only                                                 Unliquidated
             D Debtor 1 and Debtor 2 only                                D Disputed
             D At leastoneofthedebtorsandanother                         Type of NONPRIORITY unsecured claim:

             D CheckIfthisclaimIsfora community                          D Student loans
             debt                                                        D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
             Is the claim subject to offset?                             report as priority claims
                   No                                                    D Debtstopensionorprofit-sharingplans,andothersimilardebts
             D Yes                                                          Other.Specify Creditcard

  Part 3:          List Others to Be Notified About a Debt That You Alread Listed
 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed In Parts 1 or 2. For example, if a collection agency
      is trying to collectfromyoufora debtyou oweto someoneelse, listtheoriginalcreditorIn Parts 1 or 2,then listthe collection agencyhere.Similarly, ifyou
      have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. Ifyou do not have additional persons to be
      notified for any debts In Parts 1 or 2, do not fill out or submit this page.
  Name and Address                                                Onwhichentry in Part 1 or Part2 did you list the originalcreditor?
  Bursey & Associates, PC                                         Line4. 8 of(Checkone):                    D Part1:Creditors with Priority Unsecured Claims
 6740 N. Oracle Rd. Suite 151                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Tucson, AZ 85704
                                                                  Last 4 digits of account number                      1021

 Name and Address                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
 Johnson Mark LLC                                                 Line4. 10of{Checkone):                    D Part1:CreditorswithPriorityUnsecuredClaims
 1601 N. 7th Street Suite 250
                                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Phoenix, AZ 85006
                                                                  Last 4 digits of account number                      1711


 Part 4:                                 for Each T      e of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This Information is for statistical reporting purposes only. 28 U.S.C. §159.Add the amounts for each
   type of unsecured claim.

                                                                                                                                      Total Claim
                          6a.      Domestic support obligations                                                  6a.          $                      0.00
           Total
      claims
  from Part 1             6b. Taxes and certain otherdebts you owethe government                                6b.           $                      0. 00
                          6c.   Claims for death or personal Injury while you were Intoxicated                  6C.           $                      0.00
                          6d.   Other. Add all other priority unsecured claims. Write that amount here.         6d.           $                      0. 00

                          6e. Total Priority. Add lines 6a through 6d.                                          6e.        $                         0. 00

                                                                                                                                      Total Claim
                         6f.    Student loans                                                                   6f.        $                         0.00
           Total
      claims
  from Part 2            6g.    Obligations arising out of a separation agreement or divorce that
                                you did not report as priority claims                                           eg.        $                         0.00
                         Gh.    Debts to pension or profit-sharing plans, and other similar debts               6h.        $                         0.00
                         6i.    Other.Add all other nonpriority unsecured claims. Writethatamount               6i.
                                here.                                                                                      $                   44, 789. 00

                         6j.    Total Nonpriority. Add lines 6f through 6i.                                                $




Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 7 of 7
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                Case 4:18-bk-13662-SHG                                  Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                                                Desc
                                                                       Main Document    Page 18 of 39
  Fill in this information to identify your case:

  Debtor 1                   Gabriel Rojas
                             First Name                         Middle Name             Last Name

  Debtor 2
  (Spouse If, filing)        First Name                         MiddleName              LastName

  United States Bankruptcy Court for the:                DISTRICT OF ARIZONA TUCSON DIVISION

  Case number
  (if known)                                                                                                                        D Check if this is an
                                                                                                                                      amended filing



 Official Form 106G
 Schedule G: Execute                                     Contracts and Unex ired Leases                                                                 12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. Ifmorespaceis needed,copy the additional page,fill it out, numbertheentries, andattach it to this page.Onthetop ofany
 additional pages, write your name and case number (if known).

 1.      Do you have any executory contracts or unexpired leases?
               No. Checkthis boxand file thisform with the court with your other schedules. You have nothing else to report on this form.
         D Yes.Fillinalloftheinformationbeloweven ifthecontactsofleasesarelistedon ScheduleA/B'.Property(OfficialForm 106A/B).
 2.      List separately each person or company with whomyou havethe contract or lease. Then state whateach contract or lease is for (for
         example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
         and unexpired leases.


          Person or company with whom you have the contract or lease                      State what the contract or lease is for
                            Name, Number, Street, City, Slate and ZIP Code
   2.1
           Name



           Number        Street

           d                                         State                   ZIPCode
  2.2
           Name



           Number        Street

           Ci                                        State                   ZIPCode
  2.3
           Name



           Number        Street

           d                                         State                   ZIPCode
  2.4
           Name


           Number        Street


           d                                         State                   ZIPCode
  2.5
           Name



           Number        Street

          Ci                                         State                   ZIP Code




OfficialForm 106G                                  ScheduleG: Executory Contracts and Unexpired Leases                                               Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www. bestcase. com                                                                           Best Case Bankruptcy
                  Case 4:18-bk-13662-SHG                                Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                          Desc
                                                                       Main Document    Page 19 of 39
  Fill in this information to identify your case:
  Debtor 1                      Gabriel Ro'as
                                First Name                          Middle Name          Last Name

  Debtor 2
  (Spouse if, filing)          First Name                           Middle Nama          Last Name


  United States Bankruptcy Court for the:                    DISTRICT OF ARIZONA TUCSON DIVISION

  Case number
  (if known)                                                                                                                        D Check if this is an
                                                                                                                                      amended filing

 Official Form 106H
 Schedule H: Your Codebtors                                                                                                                               12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurateas possible. Iftwo married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number(if known). Answerevery question.

        1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       a No
            Yes

       2. Withinthe last 8 years, haveyou lived in a community property state or territory? (Community property states andterritories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       D No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                  D No
                        Yes.


                          In which community state or territory did you live?            -NONE-           Fill in the name and current address of that person.


                          Name of your spouse, former spouse, or legal equivalent
                          Number, Street, City, State& Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filingwith you. Listthe person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), ScheduleE/F(Official Form 106E/F),or ScheduleG (Official Form 1060). Use Schedule D, Schedule E/F,or ScheduleG to fill
       out Column 2.

                Column 1: Your codebtor                                                                  Column 2: The creditorto whomyou owethe debt
                Name, Number, Street, City, State and ZIP Code                                           Check all schedules that apply:


    3. 1        Marisela Rojas                                                                             Schedule D, line        2.2
                1975 N. Maria Ave.                                                                      D Schedule E/F, line
                Casa Grande, AZ 85122
                                                                                                        D Schedule G
                                                                                                        Freedom Mortgage Corp


    3. 2        Marisela Rojas                                                                            Schedule D, line   2.1
                1975 N. Maria Dr.                                                                       D Schedule E/F, line
                CasaGrande, AZ 85122
                                                                                                        D Schedule G
                                                                                                        First American Credit Union




Official Form 106H                                                                  Schedule H: Your Codebtors                                       Page 1 of 2
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                  Case 4:18-bk-13662-SHG                                 Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                           Desc
                                                                        Main Document    Page 20 of 39
  Debtor 1 Gabriel Ro'as                                                                        Case number (itknown)


              AdditionalPageto List More Codebtore
               Column 1: Your codebtor                                                               Column 2: The creditorto whomyou owethe debt
                                                                                                     Check all schedulesthat apply:
     3.3       Marisela Rojas                                                                        D Schedule D, line
               1975 N. Maria Dr.                                                                       Schedule E/F, line   4.4
               CasaGrande, AZ85122
                                                                                                     D Schedule G
                                                                                                     First American Credit Union




Official Form 106H                                                             Schedule H: Your Codebtors                               Page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC-www. bestcase. com                                                                  Best Case Bankruptcy
               Case 4:18-bk-13662-SHG                                 Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                 Desc
                                                                     Main Document    Page 21 of 39
  Fill in this information to identi     our case:


  Debtor 1                       Gabriel Ro'as

  Debtor 2
  (Spouse, if filing)

  United States BankruptcyCourtforthe: DISTRICTOFARIZONATUCSONDIVISION

 Case number                                                                                           Check if this is:
 (If known)
                                                                                                        D An amended filing
                                                                                                        D A supplementshowingpostpetitionchapter
                                                                                                           13 income as of the following date:
 Official Form 1061                                                                                        MM /DD/YYYY
 Schedule I: Your Income                                                                                                                           12/15
Be as complete and accurate as possible. Iftwo married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. Ifyou are separated and your spouse is not filing with you, do not include informationaboutyour spouse. If more space is needed,
attach a separatesheetto this form. On the top of any additional pages,write your name and case number(if known). Answerevery question.
 Parti:                 Describe Em lo ment

 1.      Fill in your employment                                      rt/*u**-   -i
         information.                                                                                         Debtor2 or non-filingspouse
         If you have more than one job,                               D Employed                              D Employed
         attach a separate page with            Employment status
         information about additional                                      Not employed                       D Notemployed
         employers.
                                                Occupation
         Include part-time, seasonal, or
         self-employed work.                    Employer's name

        Occupationmayincludestudent Employer'saddress
        or homemaker, if it applies.


                                                How long employed there?

 Part 2:                Give Details About Monthl    Income

Estimate monthly income as of the date you file this form. Ifyou have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

Ifyou or your non-filing spouse have more than one employer, combinethe information for all employers for that person on the lines below. Ifyou need
more space, attach a separate sheet to this form.

                                                                                                     For Debtor 1          For Debtor 2 w
                                                                                                                           non-filin s

        List monthly gross wages, salary, and commissions (before all payroll
 2.     deductions). If not paid monthly, calculate whatthe monthly wagewould be.          2.    $              0.00       $            N/A

 3.     Estimate and list monthly overtime pay.                                            3.   +$              0. 00      +$           N/A
 4.     Calculate gross Income. Add line 2 + line 3.                                       4.    $           0. 00             $      N/A




Official Form 1061                                                      Schedule I: Your Income
                 Case 4:18-bk-13662-SHG                        Doc 7 Filed  11/07/18 Entered 11/08/18 08:01:12                           Descpage 1
                                                              Main Document         Page 22 of 39
  Debtor 1   Gabriel Ro""'                                                                         Case number (if known}




       Copy line 4 here                                                                      4. $                  0.00 $                  N/A

  5.   List all payroll deductions:
       5a.    Tax, Medicare, and Social Security deductions                                  5a.    $              0.00     $              N/A
       5b.    Mandatory contributions for retirement plans                                   5b.    $              0.00     $              N/A
       5c.    Voluntary contributions for retirement plans                                   5c.    $              0. 00    $              N/A
       5d.    Required repayments of retirement fund loans                                   5d.    $              0. 00    $              N/A
       5e.    Insurance                                                                      5e.    $              0. 00    $              N/A
       5f.    Domestic support obligations                                                   5f.    $              0.00     $              N/A
       5g.    Union dues                                                                     5g.    $              0.00   $                N/A
       5h.    Other deductions. Specify:                                                     5h.+ $                0.00 + $                N/A
 6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.    $               0.00   $                N/A
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.    $               0. 00    $              N/A
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
              profession, or farm
             Attach a statement for each property and business showing gross
              receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.   $               0.00                    N/A
       8b.   Interest and dividends                                                          Sb.   $               0.00                    N/A
       8c.   Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.   $               0. 00                   N/A
       8d.   Unemployment compensation                                                      8d.    $               0. 00                N/A
       8e.   Social Security                                                                8e.    $               0. 00                N/A
       8f.   Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                       8f.    $               0.00     $           N/A
             Pension or retirement income                                                   8g.    $               0.00     $           N/A
       8h.   Other monthly income. Specify:                                                 8h.+ $                 0. 00 + $            N/A

 9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9. $                   0.00 $                  N/A

 10. Calculate monthly income. Add line 7 + line 9.                                        10. $             0. 00 + $          N/A = $           0. 00
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
 11. State all other regular contributions to the expenses that you list in Schedule J.
       Includecontributionsfrom an unmarried partner, members ofyour household, your dependents, your roommates, and
       other friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
       Specify:                                                                                                                 11. +$            0.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
       Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
       applies                                                                                                                  12. $             0.00
                                                                                                                                    Combined
                                                                                                                                    monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
           No.
     D     Yes. Explain:




OfRcial Form 1061                                               Schedule I: Your Income
             Case 4:18-bk-13662-SHG                    Doc 7 Filed  11/07/18 Entered 11/08/18 08:01:12                                     Descpage 2
                                                      Main Document         Page 23 of 39
  Fill in this information to identify your case:

  Debtor1                Gabriel Ro-as                                                                       Check if this is:
                                                                                                             [3 An amended filing
  Debtor 2                                                                                                   D A supplement showingpostpetition chapter
  (Spouse, if filing)                                                                                              13 expenses as of the following date:

 United States BankruptcyCourtfor the: DISTRICTOF ARIZONATUCSON DIVISION                                           MM/DD/YYYY

 Case number
 (If known)



 Official Form 106J
 Schedule J: Your Ex enses                                                                                                                                   12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.

 Part 1         Describe Your Household
 1.           is a joint case?
             No. Go to line 2.
        D Yes. Does Debtor2 live in a separatehousehold?
                  D No
                  D Yes. Debtor2 mustfile OfficialForm 106J-2,Expensesfor SeparateHouseholdofDebtor2.
 2.     Do you have dependents?             No
        Do not list Debtor 1 and        D Yes.      Fill out this information for   Dependent's relationship to       Dependent's        Does dependent
        Debtor 2.                                   each dependent..                Debtor 1 or Debtor 2              age                live with you?

        Do not state the                                                                                                                 D No
       dependents names.                                                                                                                 D Yes
                                                                                                                                         D No
                                                                                                                                         D Yes
                                                                                                                                         D No
                                                                                                                                         D Yes
                                                                                                                                         D No
                                                                                                                                         D Yes
 3.    Do your expenses include                     No
       expenses of people other than
       yourself and your dependents?             D Yes

                Estimate Your Ongoin Monthl Expenses
 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date afterthe bankruptcy is filed. Ifthis is a supplemental ScheduleJ, checkthe box at the top of the form and fill in the
 applicable date.

 Include expenses paid for with non-cash government assistance if you know
 the value of such assistance and have included it on Schedule I: Your Income
 (Official Form 1061.)                                                                                                      Your expenses


 4.    The rental or home ownership expenses for your residence. Include first mortgage
       paymentsand anyrentforthegroundor lot.                                                               4. $                                 0.00

       If not included in line 4:

       4a.      Real estate taxes                                                                          4a. $                                 0.00
       4b.     Property, homeowner's, or renter's insurance                                                4b. $                                 0.00
       4c.     Home maintenance, repair, and upkeep expenses                                               4c. $                                 0.00
       4d.     Homeowner's association or condominium dues                                                 4d. $                                 0.00
5.     Additionalmortgage payments for your residence, such as homeequity loans                             5. $                                 0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
              Case 4:18-bk-13662-SHG                      Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                                         Desc
                                                         Main Document    Page 24 of 39
  Debtor 1      Gabriel Ro'as                                                                            Case number (if known)

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                      6a.    $                                 0. 00
       6b. Water, sewer, garbage collection                                                                    6b.    $                                 0. 00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                      6c.    $                                 0. 00
       6d. Other. Specify:                                                                                     6d.    $                                 0.00
 7.    Food and housekeeping supplies                                                                           7.    $                                 0.00
 8.    Childcare and children's education costs                                                                  8.   $                                 0.00
 9.    Clothing, laundry, and dry cleaning                                                                      9. $                                    0.00
 10.   Personal care products and services                                                                     10. $                                    0.00
 11.   Medical and dental expenses                                                                             11.    $                                 0.00
 12.   Transportation. Include gas, maintenance, bus or train fare.
       Do not include car payments.                                                                            12. $                                    0. 00
 13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13. $                                    0.00
 14. Charitablecontributions and religious donations                                                           14. $                                    0.00
 15.   Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                    15a. $                                    0. 00
       15b.     Health insurance                                                                              15b. $                                    0. 00
       15c.     Vehicle insurance                                                                             15C. $                                    0.00
       15d. Other insurance. Specify:                                                                         15d.    $                                 0. 00
 16. Taxes. Do not includetaxes deductedfrom your pay or included in lines 4 or 20.
     Specify:                                                                                                  16. $                                    0.00
 17. Installment or lease payments:
     17a. Car payments for Vehicle 1                                                                          17a. $                                    0. 00
     17b. Car payments for Vehicle 2                                                                          17b. $                                    0. 00
     17c. Other. Specify:                                                                                     17c.    $                                 0. 00
     17d. Other. Specity:                                                                                    17d. $                                     0. 00
 18. Your payments of alimony, maintenance, and support thatyou did not report as
     deducted from your pay on line 5, Schedule I. Your Income (Official Form 1061).        18. $                                                       0.00
 19. Other payments you make to support others who do not live with you.                        $                                                       0.00
     Specify:                                                                               19.
 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
     20a. Mortgages on other property                                                     20a. $                                                        0.00
     20b. Real estate taxes                                                               20b. $                                                        0. 00
     20c. Property, homeowner's, or renter's insurance                                    20c. $                                                        0. 00
     20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                        0. 00
       20e.     Homeowner's association or condominium dues                                                  20e. $                                    0.00
 21. Other: Specify:                                                                                           21. +$                                  0.00
 22. Calculate your monthly expenses
       22a. Add lines 4 through 21.                                                  $                                                               0.00
       22b. Copy line 22 (monthly expensesfor Debtor2), if any, from Official Form 1 06J-2 $
       22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                             0.00
 23. Calculate your monthly net income.
     23a. Copy line 12 Cyourcomb/necfmonfWy/ncome^ from Schedule I.                                          23a. $                                    0. 00
     23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                                   0.00

       23c. Subtract your monthly expenses from your monthly income.
                The result isyourmonthly netincome.                                                          23C- ^                                    0.00

 24. Do you expectan increase or decrease in your expenseswithinthe yearafteryou file this form?
       For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
       modification to the terms of your mortgage?
          No.
       D Yes.              Explain here:




Official Form 106J                                                   Schedule J: Your Expenses                                                                     page 2
           Case 4:18-bk-13662-SHG                          Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                                               Desc
                                                          Main Document    Page 25 of 39
  Fill in this information to identify your case:

  Debtor 1                  Gabriel Ro'as
                            First Name                          Middle Name             LastName
  Debtor 2
  (Spouseif, filing)        First Name                          Middle Name             LastName

  United States Bankruptcy Court for the:                 DISTRICT OFARIZONA TUCSON DIVISION

  Case number
  (if known)                                                                                                                          [] Check if this is an
                                                                                                                                         amended filing



 Official Form 106Dec
 Declaration About an Individual Debtor's Schedules                                                                                                            12/15

 If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form wheneveryou file bankruptcy schedules or amendedschedules. Makinga false statement, concealing property, or
obtainingmoney or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonmentfor up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                   Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        D       No
                Yes. Name of person            Maria Lungo                                                         Attach Bankruptcy Petition Preparer's Notice,
                                                                                                                   Declaration, and Signature(Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are tr and c rr .
                                               /"
                abriel Rojas                                                               Signature of Debtor 2
               Signature of Debtor 1

               Date *            '7-/                                                      Date




Official Form 106Dec                                          Declaration About an Individual Debtor's Schedules

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  Fill in this information to identify your case:

  Debtor 1                   Gabriel Ro'as
                             First Name                        Middle Name                   LastName
  Debtor 2
  (Spouse if, filing)        First Name                        Middle Name                   Last Name


  United States BankruptcyCourtforthe:                  DISTRICTOFARIZONATUCSONDIVISION

  Case number
  (if known)                                                                                                                               D Check if this is an
                                                                                                                                             amended filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/16
 Be as complete and accurateas possible. Iftwo married people are filing together, both are equally responsiblefor supplying correct
 information. Ifmore space is needed, attach a separatesheetto this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.

  Part 1:        Give Details About Your Marital Status and Where You Lived Before

 1.    What is your current marital status?

               Married
       D       Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

       D       No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                       Dates  Debtor11
                                                                      Dates Debtor             Debtor2 Prior Address:                             Dates Debtor 2
                                                                      lived there                                                                 lived there
        936 Tovreaville Rd.                                           From-To:                 D SameasDebtor 1                                   D SameasDebtor 1
        Bisbee, AZ 85603                                              4/2018 to 9/2018                                                            From-To:




        1975 N. Maria Dr.                                             From-To:                 D Same as Debtor 1                                 D Sameas Debtor 1
        CasaGrande, AZ85122                                           3/2015to 2/2018                                                             From-To:




3. Withinthe last8 years, didyouever live witha spouseor legalequivalentin a community property state or territory? {Communityproperty
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

       D       No
               Yes. Make sure you fill out Schedule H: YourCodebtors(Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of incomeyou received from alljobs and all businesses, includingpart-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

       D       No
               Yes. Fill in the details.

                                                    Debtor 1                                                        Debtor 2
                                                    Sources of income                   Gross income                Sources of income             Gross income
                                                    Check all that apply.               (before deductions and      Checkall that apply.          (before deductions
                                                                                        exclusions)                                               and exclusions)

Official Form 107                                       Statement of FinancialAffairs for IndividualsFiling for Bankruptcy                                          page 1
Software Copyright (c) 1996-2018 Best Case, LLC -www. be8tcase. com                                                                                    Best Case Bankruptcy
                 Case 4:18-bk-13662-SHG                                Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                                   Desc
                                                                      Main Document    Page 27 of 39
  Debtor 1        Gabriel Ro'as                                                                          Case number (ifknown}



                                                 Debtor 1                                                      Debtor 2
                                                 Sources of income               Gross income                  Sources of income            Gross income
                                                 Check all that apply.           (before deductions and        Check all that apply.        (before deductions
                                                                                 exclusions)                                                and exclusions)
  From January1 of current year until              Wages, commissions,                      $13, 500. 00       D Wages, commissions,
  the date you filed for bankruptcy:             bonuses, tips                                                 bonuses, tips

                                                 D Operatinga business                                         D Operating a business

  For last calendar year:                          Wages, commissions,                      $41, 120. 00       D Wages,commissions,
  (January 1 to December 31, 2017)                                                                             bonuses, tips
                                                 bonuses, tips
                                                 a Operating a business                                        D Operatinga business

 For the calendar year before that:                Wages, commissions,                      $38, 000. 00       D Wages, commissions,
 (January 1 to December 31, 2016)                                                                              bonuses, tips
                                                 bonuses, tips
                                                 D Operatinga business                                         D Operatinga business


5.    Did you receive any other income during this year or the two previous calendar years?
      Includeincome regardlessofwhetherthat income is taxable. Examplesof otherincome are alimony; child support; SocialSecurity, unemployment,
      and other publicbenefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      D      No
            Yes. Fill in the details.

                                                 Debtor 1                                                     Debtor 2
                                                 Sources of income              Gross income from             Sources of income            Gross income
                                                 Describe below.                each source                   Describe below.              (before deductions
                                                                                (before deductionsand                                      and exclusions)
                                                                                exclusions)
 From January 1 of current year until Food stamps                                            $1, 152. 00
 the date you filed for bankruptcy:


 Part 3:     List Certain Pa ments You Made Before You Filed for Bankru tc

6.    Are either Debtor 1 's or Debtor 2's debts primarily consumer debts?
      D No. NeitherDebtor1 norDebtor2 hasprimarilyconsumerdebts.Consumerdebtsaredefinedin 11 U.S.C.§ 101(8)as"incurredbyan
                    individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6, 425* or more?
                     D No.       Go to line 7.
                     Q Yes Listbeloweachcreditortowhomyoupaida totalof$6,425*ormoreinoneormorepaymentsandthetotalamountyou
                                 paid that creditor. Do not include paymentsfor domesticsupport obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.      Go to line 7.
                     D Yes       Listbeloweach creditortowhomyou paida total of$600ormore andthetotal amountyou paidthatcreditor. Donot
                                 include paymentsfordomesticsupport obligations, such as child support and alimony. Also, do not include paymentsto an
                                 attorney for this bankruptcy case.


      Creditor's Name and Address                           Dates of payment            Total amount          Amountyou          Wasthis paymentfor.
                                                                                                  paid            still owe



Official Form 107                                  Statement of FinancialAffairsfor Individuals Filing for Bankruptcy                                       page 2
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             Case 4:18-bk-13662-SHG                          Doc 7 Filed 11/07/18 Entered 11/08/18 08:01:12                                     Desc
                                                            Main Document    Page 28 of 39
  Debtor 1        Gabriel Ro'as                                                                             Case number w known)



 7.    Within 1 year beforeyou filed for bankruptcy, did you make a paymenton a debtyou owed anyonewho wasan insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
       of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
       a business you operate as a sole proprietor. 11 U. S.C. g 101. Include payments for domestic support obligations, such as child support and
       alimony.

              No
        D     Yes, List all payments to an insider.
        Insider's Name and Address                                     Dates of payment       Total amount        Amount you        Reason for this payment
                                                                                                       paid            still owe

 8.    Within 1 year before you filed for bankruptcy, did you make any payments or transferany property on accountof a debtthat benefitedan
       insider?
       Include payments on debts guaranteed or cosigned by an insider.

              No
       D Yes. Listall paymentsto an insider
        Insider's Name and Address                                     Dates of payment      Total amount         Amount you        Reason for this payment
                                                                                                       paid           still owe     Include creditor's name

  Part 4:      Identi Le al Actions, Re ossessions, and Foreclosures

9.     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       Listall such matters, including personal injurycases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.

       D     No
             Yes. Fill in the details.
        Case title                                                     Nature of the case    Court or agency                        Status of the case
        Case number
        Midland Funding LLC                                            Civil                #2 Casa Grande Justice                     Pending
        vs Gabriel Rojas and J Doe, a                                                       Court
                                                                                                                                    D Onappeal
        married couple                                                                      820 E. Cottonwood Ln. #B                D Concluded
        CV2018001021                                                                        CasaGrande, AZ85122

        Portfolio Recovery & Affil                                     Civil                #2 Casa Grande Justice                     Pending
        vs Gabriel Rojas and Jane Doe                                                       Court
                                                                                                                                    D On appeal
        CV2018001711                                                                        820 E. Cottonwood Ln. Bldg
                                                                                            B
                                                                                                                                    D Concluded
                                                                                            Casa Grande, AZ 85122


10. Within 1 year beforeyou filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

             No. Go to line 11.
       D     Yes. Fill in the information below.
       Creditor Name and Address                                   Describe the Property                                    Date                         Value of the
                                                                                                                                                            property
                                                                   Explain what happened

11 Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?
          No
      D      Yes. Fill in thedetails.
       Creditor Name and Address                                   Describe the action the creditor took                    Date action was                   Amount
                                                                                                                            taken

12. Within 1 year beforeyou filed for bankruptcy, wasany of your property in the possession of an assigneefor the benefitof creditors, a
      court-appointed receiver, a custodian, or another official?

             No
      D      Yes

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  Debtor 1        Gabriel Ro'as                                                                          Case number (ifknown)



  Part 5:      List Certain Gifts and Contributions

 13.       thin 2 years beforeyou filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
             No
       D     Yes. Fill in the details for each gift.
        Gifts with a total value of more than $600                    Describe the gifts                                 Dates you gave                  Value
        per person                                                                                                       the gifts

        Person to Whom You Gave the Gift and
        Address:

 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
     D Yes. Fill in the details for each gift or contribution.
        Gifts or contributions to charities that total                Describewhatyou contributed                        Datesyou                        Value
        more than $600                                                                                                   contributed
        Charity's Name
        Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

             No
       D     Yes. Fill in the details.
        Describe the property you lost and                   Describe any insurance coverage for the loss                Date of your      Value of property
        how the loss occurred                                                                                            loss                           lost
                                                             Include the amount that insurance has paid. List pending
                                                             insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Pa ments or Transfers

16. Within 1 year beforeyou filed for bankruptcy, did you or anyoneelse acting on your behalfpay or transferany property to anyoneyou
       consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Includeanyattorneys, bankruptcy petition preparers, or creditcounseling agenciesforservices required in your bankruptcy.

       D     No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property               Date payment             Amount of
       Address                                                       transferred                                         or transfer was            payment
       Email orwebsite address                                                                                           made
       Person Who Made the Payment, if Not You
       Document Preparation Specialists, LLC                                                                             10/26/2018                 $199.00
       2520 E. Indian School Road
       Phoenix, AZ 85016
       www.documentprepaz.com


17. Within1 year before you filed for bankruptcy, did you or anyoneelse acting on your behalfpay or transfer any property to anyonewho
       promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

            No
       D Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property               Date payment            Amount of
       Address                                                       transferred                                         or transfer was            payment
                                                                                                                         made




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  Debtor 1        Gabriel Ro'as                                                                        Case number (if known)



 18. Within 2 years beforeyou filed for bankruptcy, did you sell, trade, or otherwisetransferany property to anyone, otherthan property
      transferred in the ordinary course of your business or financial affairs?
      Includeboth outrighttransfers andtransfers made as security (such as the granting of a security interest or mortgageon your property). Do not
      include gifts and transfers that you have already listed on this statement.
           No
      D      Yes. Fill in the details.
       Person Who Received Transfer                             Description and value of                   Describe any property or     Datetransfer was
       Address                                                  property transferred                       payments received or debts   made
                                                                                                           paid in exchange
       Person's relationship to you

 19. Within 10 years before you filed for bankruptcy, did you transferany property to a self-settled trust or similardevice of whichyou are a
      beneficiary? (These are often called asset-protection devices.)
          No
      D      Yes. Fill in the details.
       Name of trust                                            Description and value of the property transferred                       Date Transfer was
                                                                                                                                        made

 Part 8:       List of Certain FinancialAccounts, Instruments, Safe De osit Boxes, and Stora e Units

20. Within 1 year beforeyou filed for bankruptcy, were any financialaccounts or instruments held in your name, or for your benefit, closed,
      sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
      houses, pension funds, cooperatives, associations, and other financial institutions.
           No
      D      Yes. Fill in the details.
       Name of Financial Institution and                   Last 4 digits of           Type of account or           Date account was          Last balance
       Address (Number,Street,City,StateandZIP             account number              instrument                  closed, sold,         before closing or
       Code)                                                                                                       moved, or                       transfer
                                                                                                                   transferred

21    Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
      cash, or other valuables?

             No
      D     Yes. Fill in the details.
      Name of Financial Institution                            Whoelse had access to it?              Describe the contents              Do you still
      Address (Number,Street,City, StataandZIPCade)            Address (Number,Street,City,                                              have it?
                                                               State andZIPCode)

22. Have you stored property in a storage unit or place otherthan your home within 1 year before you filed for bankruptcy?

            No
      D Yes. Fill in the details.
      Name of Storage Facility                                 Who else has or had access             Describe the contents              Do you still
      Address (Number,Street,City, StateandZIPCode)            to it?                                                                    have it?
                                                               Address (Number,Street,City,
                                                               State andZIPCode)

 Part 9:       Identi Pro          You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Includeany property you borrowedfrom, are storing for, or hold in trust
     for someone.


            No
      D     Yes. Fill in the details.
      Owner's Name                                             Where is the property?                 Describethe property                           Value
      Address (Number,Street,City, StateandZIPCode)            (Number,Street, City, StateandZIP
                                                               Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
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      toxic substances,wastes, or material into the air, land, soil, surfacewater, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notifiedyou that you may be liableor potentially liable under or in violation of an environmental law?

             No
      D Yes. Fill in the details.
       Name of site                                            Governmental unit                             Environmental law, if you         Date of notice
       Address (Number,Street,City,StateandZIPCode)            Address (Number,Street,City, Stateand         know it
                                                               ZIPCode)

25. Have you notified any governmental unit of any release of hazardous material?

             No
      D Yes. Fill inthe details.
       Name of site                                            Governmental unit                             Environmental law, if you         Date of notice
       Address (Number,Street,City, StateandZIPCode)           Address (Number, Street, City, State and      know It
                                                               ZIP Code)

26. Haveyou been a party in anyjudicial or administrative proceeding underany environmental law? Include settlements and orders.

             No
      D      Yes. Fill In the details.
      Case Title                                               Court or agency                            Nature of the case                   Status of the
      Case Number                                              Name                                                                            case
                                                               Address (Number,Street,City,
                                                               State andZIPCode)

 Part 11:     Give Details About Your Business or Connections to An Business

27 Within4 years beforeyou filed for bankruptcy, did you own a business or have any of the following connections 10any business?
             D A sole proprietoror self-employed in a trade, profession,or otheractivity, eitherfull-time or part-time
             a A memberofa limited liabilitycompany(LLC)or limited liability partnership(LLP)
             D A partner in a partnership
             D An officer,director, or managingexecutiveofa corporation
             D An ownerofat least5%ofthe voting or equity securitiesofa corporation
             No. None of the above applies. Go to Part 12.
      D Yes.Checkall thatapply aboveandfill in the details belowforeachbusiness,
      Business Name                                       Describe the nature of the business                 Employer Identification number
      Address                                                                                                 Do not include Social Security number or ITIN.
      (Number, Street, City, StateandZIPCode)             Name of accountant or bookkeeper
                                                                                                              Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
     D      Yes. Fill in the details below.
      Name                                               Date Issued
      Address
      (Number, Street, City, StateandZIPCode)

 Part 12: Si n Below

I have read the answers on this Statementof FinancialAffairsand any attachments, and I declare under penalty of perjury thatthe answers
Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankmptcy                                        page 6
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 are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
 with a bankruptcy case can result in fines up to $250, 000, or imprisonment for up to 20 years, or both.
 18U.S.C.           5 , 13 ,        19, and 3571.


    abnel Rojas                                                             Signature of Debtor 2
  Signature of Debtor 1

  Date                     -/                                               Date

 Did you attach additionalpagesto Your Statementof FinancialAffairsfor IndividualsFiling forBankruptcy(Official Form 107)?
     No
 D Yes

 Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 D No
     Yes. Name of Person             Maria Lun o . Attach the Bankruptcy Petition Preparei's Notice, Declaration, and Signature (Official Form 119).




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   ill :n *k:^    :*-><A-T. ->*. !/^   *. ^   :^l^»*. :f.. *. ^.. - »^»/..




 Debtor 1                       Gabriel Rojas
                                First Name                                   Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)           First Name                                    Middle Name                Last Name


 United States Bankruptcy Court for the:                              DISTRICT OF ARIZONA TUCSON DIVISION

 Case number
 (if known)
                                                                                                                                                   D Check if this is an
                                                                                                                                                     amended filing



Official Form 108
Statement of Intention for Individuals Filin                                                                        Under Cha ter7                                      12/15

If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
    you have leased personal property and the lease has not expired.
You must filethis form with the court within 30 daysafteryou file your bankruptcy petition or by the dateset for the meeting of creditors,
       whicheveris earlier, unless the court extendsthe time for cause.You must also send copies to the creditors and lessors you list
               on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
               sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
              write your name and case number (if known).

                List Your Creditors Who Have Secured Claims


1 For any creditorsthat you listed in Part 1 of ScheduleD: Creditors WhoHaveClaims Secured by Property (Official Form 106D),till in the
   information below.
    Identify the creditor and the property that is collateral                              What do you intend to do with the property that       Did you claim the property
                                                                                           secures a debt?                                       as exempt on Schedule C?


    Creditor's         First American Credit Union                                         D Surrenderthe property,                               D No
    name:                                                                                  D Retainthe property and redeem it.
                                                                                           D Retainthe property and enter into a                    Yes
    Description of 2013 Kia Optima 70000 miles                                                Reaffirmation Agreement.
    property                 1975 N. Maria Dr., Casa Grande,                                  Retain the property and [explain]:
    securingdebt: ^^^^                                                                      Reaffirm if it makes sense to do so
                             Wife's car



    Creditor's Freedom Mortgage Corp                                                       D Surrenderthe property.                              D No
    name:
                                                                                           D Retainthe property and redeem it.
                                                                                              Retain the property and enter into a                  Yes
    Description of 1975 N. Maria Ave. Casa
                                                                                              Reaffirmation Agreement.
    property                 Grande, AZ 85122 Final County                                 D Retain the property and [explain]:
    securingdebt: ln Processofa divorce

l'}T'^&^ List Your Unexpired Personal Property Leases
Forany unexpiredpersonal property leasethat you listed in ScheduleG: Executory Contracts and Unexpired Leases(OfficialForm 106G), fill
jn the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assumean unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).
 Describe your unexpired personal property leases                                                                                            Will the lease be assumed?


Official Form 108                                                      Statement of Intention for Individuals Filing Under Chapter 7                                       page 1
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   Debtor 1       Gabriel Rojas                                                                          Case number {ifknown)

   Lessor's name:
                                                                                                                                 D No
   Description of leased
   Property:
                                                                                                                                 D Yes
   Lessor's name:
                                                                                                                                 D No
   Description of leased
   Property:
                                                                                                                                 D Yes
   Lessor's name:
                                                                                                                                 D No
   Description of leased
   Property:
                                                                                                                                 D Yes
   Lessor's name:
                                                                                                                                 D No
  Description of leased
  Property:
                                                                                                                                 a Yes
  Lessor's name:
                                                                                                                                 D No
  Description of leased
  Property:
                                                                                                                                 D Yes
  Lessor's name:
                                                                                                                                 D No
  Description of leased
  Property:
                                                                                                                                 D Yes
  Lessor's name:
                                                                                                                                 D No
  Description of leased
  Property:
                                                                                                                                 D Yes
               Sign Below


 underpenalty. ofperjury.''declarethat' haveindicatedmyintentionaboutanyproperty ofmyestatethatsecuresa debtand,
 property that is         b'ect to an         xpired lease.


           abriel      ojas                                                               Signature of Debtor 2
        Signature of Debtor 1

        Date
                      /J^1-1^                                                          Date




Official Form 108
                                                          Statement of Intention for Individuals Filing Under Chapter 7                              page 2
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  Notice Required by 11 U. S.C. § 342(b) for
 Individuals Filin for Bankru tc (Form 2010)


                                                                                            Chapter 7:         Liquidation
  This notice is for you if:
                                                                                                    $245 filing fee
          You are an individualfiling for bankruptcy,
          and                                                                                        $75      admin istrative fee

          Your debts are primarily consumer debts.                                          +        $15 trustee surchar e
          Consumer debts are defined in 11 U. S. C.
          § 101(8) as "incurred by an individual                                                    $335      total fee
          primarily for a personal, family, or
          household purpose."                                                               Chapter 7 is for individuals who have financial
                                                                                            difficulty preventing them from paying their debts
                                                                                            and who are willing to allowtheir nonexempt
  The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
  individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                            your debts discharged. The bankruptcy discharge
  Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
  one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptionsexist
                                                                                            for particulardebts, and liens on property may still
         Chapter 7 - Liquidation                                                            be enforced after discharge. Forexample, a creditor
                                                                                            may havethe right to foreclose a home mortgage or
         Chapter 11 - Reorganization                                                        repossess an automobile.

         Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                     for family farmers or                                                  certain kinds of improper conduct described in the
                            fishermen                                                       Bankruptcy Code, the court may deny your
                                                                                            discharge.
         Chapter 13 - Voluntary repayment plan
                     for individuals with regular                                           You should knowthat even if you file chapter7 and
                            income                                                          you receive a discharge, some debts are not
                                                                                            discharged under the law. Therefore, you may still
                                                                                            be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                              most taxes;
 chapter.
                                                                                                most student loans;

                                                                                                domestic support and property settlement
                                                                                                obligations;




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           most fines, penalties, forfeitures, and criminal                                your income is more than the median incomefor your
           restitution obligations; and                                                    state of residence and family size, depending on the
                                                                                           results of the Means Test, the U. S. trustee, bankruptcy
          certain debts that are not listed in your bankruptcy                             administrator, or creditors can file a motion to dismiss
          papers.                                                                          your case under § 707(b) of the Bankruptcy Code. If a
                                                                                           motion is filed, the court will decide if your case should
  You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                           proceed under another chapter of the Bankruptcy
          fraud or theft;                                                                  Code.

          fraud or defalcationwhile acting in breach of                                    Ifyou are an individualfilingfor chapter7 bankruptcy,
          fiduciary capacity;                                                              the trustee may sell your property to pay your debts,
                                                                                           subject to your right to exempt the property or a portion
          intentional injuries that you inflicted; and                                     of the proceeds from the sale of the property. The
                                                                                           property, and the proceeds from property that your
          death or personal injury caused by operating a                                   bankruptcy trustee sells or liquidatesthat you are
          motor vehicle, vessel, or aircraft while intoxicated                             entitled to, is called exempt property. Exemptions may
          from alcohol or drugs.                                                           enableyou to keep your home, a car, clothing, and
                                                                                           household items or to receive some of the proceeds if
  If your debts are primarily consumer debts, the court                                    the property is sold.
  can dismissyour chapter 7 case if it finds that you have
  enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
  You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
  Monthly Income (Official Form 122A-1) if you are an                                      as Exempt(Official Form 106C). Ifyou do not list the
  individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
  form will determine your current monthly income and                                      proceeds to your creditors.
  compare whetheryour income is more than the median
  income that applies in your state.

  If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
  122A-2).
                                                                                                       $1, 167 filing fee
 If your income is above the median for your state, you
 must file a second form -the Chapter 7 Means Test                                            +           $550 administrative fee
 Calculation (Official Form 122A-2). The calculations on
 the form- sometimes called the Means Test- deduct
                                                                                                       $1, 717 total fee
 from your income living expenses and payments on
 certain debtsto determine any amount available to pay                                     Chapter 11 is often used for reorganizing a business,
 unsecured creditors. If                                                                   but is also availableto individuals. The provisions of
                                                                                           chapter 11 are too complicated to summarize briefly




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          Read These Im ortantWarnin s


               Because bankruptcy can have serious long-term financial and legal consequences, including loss of
               your property, you should hire an attorney and carefully consider all of your options before you file.
               Only an attorney can giveyou legal adviceaboutwhatcan happen as a result offiling for bankruptcy
               and whatyour options are. If you do file for bankruptcy, an attorney can help you fill out the forms
               properly and protect you, your family, your home, and your possessions.

               Although the law allows you to represent yourself in bankruptcy court, you should understand that
               many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
               or inaction may harm you. Ifyou file withoutan attorney, you arestill responsiblefor knowingand
               following all of the legal requirements.

              You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
               necessary documents.

              Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
              bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
              fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
              20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                         Underchapter 13, you must file with the court a plan
  Chapter 12: Repayment plan for family                                                  to repay your creditors all or part of the money that
                      farmers or fishermen                                               you owe them, usually using your future earnings. If
                                                                                         the court approves your plan, the court will allowyou
                                                                                         to repay your debts, as adjusted by the plan, within 3
                    $200 filing fee                                                      years or 5 years, depending on your income and other
  +                   $75       administrative fee                                       factors.
                    $275 total fee
                                                                                         After you make all the payments underyour plan,
 Similarto chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                not dischargedand that you may still be responsible to
 using future earnings and to discharge some debts that                                  pay include:
 are not paid.
                                                                                                domestic support obligations,

                                                                                                most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                           certain taxes,
                      income
                                                                                                debts for fraud or theft,

                    $235 filing fee                                                             debts for fraud or defalcation while acting in a
 +                   $75 administrative fee                                                     fiduciary capacity,
                    $310 total fee
                                                                                                most criminal fines and restitution obligations,
 Chapter 13 is for individualswho have regular income
 and would like to pay all or part of their debts in                                            certain debts that are not listed in your
 installments over a period of time and to discharge                                            bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                        certain debts for acts that caused death or
 dollar amounts set forth in 11 U. S. C. § 109.                                                 personal injury, and

                                                                                                certain long-term secured debts.



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                                                                                            A married couple may file a bankruptcy case
                                                                                            together-called a joint case. Ifyou file a joint case and
                                                                                            each spouse lists the same mailing address on the
                                                                                            bankruptcy petition, the bankruptcy court generally will
                                                                                            mail you and your spouse one copy of each notice,
                                                                                            unless you file a statement with the court asking that
                                                                                            each spouse receive separate copies.

                                                                                            Understand which services you could receive from
                                                                                            credit counseling agencies

                                                                                            The law generally requires that you receive a credit
                                                                                            counseling briefing from an approved credit counseling
                                                                                            agency. 11 U. S. C. § 109(h). Ifyou are filing a joint
                                                                                            case, both spouses must receive the briefing. With
                                                                                            limited exceptions, you must receive it within the 180
                                                                                            days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                                briefing is usually conducted by telephone or on the
                                                                                            Internet.
         If you knowingly and fraudulently conceal assets
         or make a false oath or statement under penalty                                    In addition, after filing a bankruptcy case, you generally
        of perjury-either orally or in writing-in                                           must complete a financial management instructional
        connection with a bankruptcy case, you may be                                       course beforeyou can receive a discharge. Ifyou are
        fined, imprisoned, or both.                                                         filing a joint case, both spouses must complete the
                                                                                            course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                    You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                   both the briefing and the instructional course from:
        U. S. Trustee, the Office of the U. S. Attorney, and                                htt ://'ustice. ov/ust/eo/ha c a/ccde/cc a      roved, html
        other offices and employees of the U. S.
        Department of Justice.
                                                                                            In Alabamaand North Carolina, go to:
 Make sure the court has your mailing address                                               htt ://www. uscourts. ov/FederalCourts/Bankru        tc /
                                                                                            Bankru to Resources/A rovedCredit
 The bankruptcy court sends notices to the mailing                                          AndDebtCounselors.as x.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                       Ifyou do not have accessto a computer, the clerk of
 that you receive information about your case,                                              the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                    the list.
 of any changes in your address.




Notice Required by 11 U. S. C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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